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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

IN RE:                                                              §
                                                                    §               CASE NO. 25-40712
DZS INC., et al.,1                                                  §
                                                                    §               (Chapter 7)
                                 DEBTORS.                           §

                             FIRST NOTICE OF
         ASSUMPTION OF EXECUTORY CONTRACT(S) OR UNEXPIRED LEASE(S)

        PLEASE TAKE NOTICE THAT on April 28, 2025 the United States Bankruptcy Court
for the Eastern District of Texas (the “Court”) entered an order [Docket No. 112] (the
“Sale Order”) that, among other things approved the sale of substantially all of the assets of the
above-captioned debtors (the “Debtors”) to Zhone Technologies, Inc., (“Zhone”), formerly known
as Fibre Acquisitions Corporation.

       PLEASE TAKE FURTHER NOTICE THAT the Trustee filed the Notices of Executory
Contracts and/or Unexpired Leases to be Assumed [ECF Nos. 47-66, 69] with the Court on April
14, 2025 and served such Notices on counter-parties to such Executory Contract(s) and/or
Unexpired Lease(s) (each a “Notice of Potentially Assumed Contract or Lease”).

      PLEASE TAKE FURTHER NOTICE THAT the Purchaser has elected to assume the
Executory Contract(s) and/or Unexpired Lease(s) to which you are a party listed on the attached
Exhibit 1 to this Notice.

        PLEASE TAKE FURTHER NOTICE THAT “cure” obligations included in the Notice
of Potentially Assumed Contract or Lease or as otherwise agreed to by the Purchaser and any other
party to such lease or contact (the “Cure Claim”) of any Executory Contract(s) or Unexpired
Lease(s) included in this Notice, shall be satisfied for the purposes of section 365(b)(1) of the
Bankruptcy Code, by payment in Cash, within ten (10) calendar days of this Notice or on such other
date as the parties to such Executory Contract(s) and/or Unexpired Lease(s) may otherwise agree.
Any Cure Claim shall be deemed fully satisfied, released, and discharged upon such payment. The
Purchaser may settle and pay any Cure Claim without any further notice to or action, order, or
approval of the Bankruptcy Court. The Trustee and Purchaser may adjourn consideration of any
cure dispute beyond the Sale Hearing.




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  The Debtors in these Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: DZS Inc. (9099); DZS Services Inc. (3763); and DZS California Inc. (3221) (each “Debtor” and
collectively the “Debtors”). The location of the Debtors’ service address for purposes of these Chapter 7 Cases is:
5700 Tennyson Parkway, Suite 400, Plano, TX 75024.



    5/9/2025 (2:11 PM) 5/9/2025 (2:11 PM) 126685.000001 4898-6346-0663.3 5/9/2025 (2:11 PM)
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       PLEASE TAKE FURTHER NOTICE THAT the Purchaser is responsible for payment
of any Cure Claims as defined in the Notice of Potentially Assumed Contract or Lease related to
your agreement.

      PLEASE TAKE FURTHER NOTICE THAT any objection to the assumption of an
Executory Contract or Unexpired Lease under the Plan was due no later than April 25, 2025.

       PLEASE TAKE FURTHER NOTICE THAT any request for payment of or objection
to a Cure Claim that differs from the cure amounts listed in the Notice of Potentially Assumed
Contract or Lease was also required to be Filed with the Bankruptcy Court no later than April 25,
2025.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Sale Order, any
counterparty to an Executory Contract or Unexpired Lease that failed to timely object to the
proposed assumption, assumption and assignment, or related Cure Claim is deemed to have
assented to such assumption and assignment and/or Cure Claim of such Executory Contract or
Unexpired Lease, as applicable, and any untimely objection shall be disallowed and forever barred,
estopped, and enjoined from assertion, and shall not be enforceable against the Purchaser, without
the need for any objection by the Purchaser or any other party in interest or any further notice to
or action, order, or approval of the Court. Such counterparties to such Executory Contract(s) or
Unexpired Lease(s) shall be deemed to release and waive, subject to such counterparties’ receipt
of the applicable Cure Claim, any and all rights arising under such Executory Contract(s) or
Unexpired Lease(s) related to any default, cross-default, termination, put right, or other similar
provision related to any event, default, or potential default on or occurring prior to the Closing
Date.

         PLEASE TAKE FURTHER NOTICE THAT assumption of any Executory Contract
and/or Unexpired Lease pursuant to the Sale Order shall result in the full release and satisfaction
of any claims or defaults, whether monetary or nonmonetary, including defaults of provisions
restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any such Executory Contract or Unexpired Lease at any time on or before
the date that the Debtors assume or assume and assign such Executory Contract or Unexpired
Lease.

         PLEASE TAKE FURTHER NOTICE THAT neither the exclusion nor inclusion of any
Executory Contract or Unexpired Lease on Notice of Potentially Assumed Contract or Lease, shall
constitute an admission by the Debtors, the Trustee or Purchaser that any such contract or lease is
in fact an Executory Contract or Unexpired Lease, that any Debtor(s) has any liability thereunder,
or that such Executory Contract or Unexpired Lease is a binding and enforceable agreement. In
addition, the Trustee and Purchaser shall have the right to: (i) alter, amend, modify, or supplement
any information set forth herein, including to add or remove any Executory Contract or Unexpired
Lease from the Rejection List or Assumption List, pursuant to the terms of the Plan; and (ii) contest
any Claim asserted in connection with any Executory Contract or Unexpired Lease.

       Any questions regarding this Notice should be directed to John Higgins at 469-581-9204,
Email: john.higgins@zhone.com.




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 Dated: May 9, 2025.                         Respectfully submitted,

                                             DYKEMA GOSSETT PLLC

                                             By: /s/ Dominique A. Douglas
                                             Deborah D. Williamson
                                             Texas State Bar No. 21617500
                                             Dominique A. Douglas
                                             Texas State Bar No. 24134409
                                             DYKEMA GOSSETT PLLC
                                             112 E. Pecan St., Suite 1800
                                             San Antonio, Texas 78205
                                             Phone: 210-554-5275
                                             Email: dwilliamson@dykema.com
                                             Email: ddouglas@dykema.com

                                             ATTORNEYS FOR
                                             ZHONE TECHNOLOGIES, INC.
                                             FORMERLY KNOWN AS
                                             FIBRE ACQUISITION CORPORATION




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 9, 2025, a true and correct copy of the foregoing
was served by electronic means as listed on the Court’s ECF noticing system and first class mail to
necessary contract counterparties.

                                                      /s/ Dominique A. Douglas
                                                      Dominique A. Douglas




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                                                        Exhibit 1
                                                     Assumption List




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           DZS ID                    Counterparty Name        Description of Contract or Lease


2.0007                         ADVANCED COMPUTER            MUTUAL PRODUCT EVALUATION
                               TECHNOLOGY ACT               AGREEMENT


2.0008                         ADVANCED COMPUTER            MUTUAL NON-DISCLOSURE
                               TECHNOLOGY S.A.E.            AGREEMENT


2.0009                         TAMDEED PROJECTS LLC; SISALAT AMENDMENT #1
                               SERVICES HOLDING LLC


2.0010                         ADVANCED MEDIA               AMENDMENT #1
                               TECHNOLOGIES INC


2.0011                         ADVANCED MEDIA               AMENDMENT #2
                               TECHNOLOGIES INC


2.0012                         ADVANCED MEDIA               AMENDMENT #2
                               TECHNOLOGIES INC


2.0013                         ADVANCED MEDIA               CONTRACTUAL DOCUMENT
                               TECHNOLOGIES INC


2.0014                         ADVANCED MEDIA               DISTRIBUTOR AGREEMENT
                               TECHNOLOGIES INC


2.0015                         ADVANCED MEDIA               MUTUAL PRODUCT EVALUATION
                               TECHNOLOGIES INC             AGREEMENT


2.0016                         ADVANTAGE TELCOM             PURCHASE AGREEMENT FOR
                                                            PRODUCTS AND SERVICES


2.0036                         AL-NAYI COMPANY              PURCHASE AGREEMENT FOR
                                                            PRODUCTS AND SERVICES


2.0039                         ALTITUDE INFRASTRUCTURE      MUTUAL PRODUCT EVALUATION
                               EXPLOITATION SA              AGREEMENT


2.0040                         AMG TECHNOLOGY INVESTMENT    MUTUAL PRODUCT EVALUATION
                               GROUP LLC                    AGREEMENT
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2.0041                         ANIXTER INC                   RESELLER AGREEMENT



2.0042                         ANIXTER INC                   RESELLER AGREEMENT



2.0043                         ANIXTER INC; JT INDUSTRIES INC; LETTER OF AGREEMENT NO.
                               LUCENT TECHNOLOGIES BELL LABS ANX052001
                               INNOVATION LUCENT
                               TECHNOLOGIES INC
2.0044                         ANIXTER INC; JT INDUSTRIES INC; LETTER OF AGREEMENT NO.
                               LUCENT TECHNOLOGIES BELL LABS ANX052001
                               INNOVATION LUCENT
                               TECHNOLOGIES INC
2.0045                         ANTXTER INC                     PARTICIPATION ADDENDUM



2.0054                         AT&T GLOBAL CONNECTIONS       SERVICES AGREEMENT



2.0055                         AT&T SERVICES INC             AMENDMENT NO. 7 TO AGREEMENT
                                                             NO. 10708.C
                                                             (FORMERLY 20101130.074.C)

2.0056                         AT&T SERVICES INC             AMENDMENT NO. 8 TO
                                                             AGREEMENT


2.0057                         AT&T SERVICES INC             AMENDMENT NO. 9 TO
                                                             AGREEMENT


2.0058                         AT&T SERVICES INC             PRODUCT EVALUATION
                                                             AGREEMENT


2.0059                         AT&T SERVICES INC             PRODUCT EVALUATION
                                                             AGREEMENT


2.0060                         AT&T SERVICES INC             PRODUCT EVALUATION
                                                             AMENDMENT NO. 307075.S.002 TO
                                                             TRIAL AGREEMENT NO.
                                                             307075.A.003
2.0061                         ATLANTIC TELEPHONE            PURCHASE AGREEMENT FOR
                               MEMBERSHIP CORP (ATMC)        PRODUCTS AND SERVICES


2.0062                         ATLANTIC TELEPHONE            MUTUAL PRODUCT EVALUATION
                               MEMBERSHIP CORPORATION        AGREEMENT
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2.0065                         AXON NETWORKS INC                MUTUAL PRODUCT EVALUATION
                                                                AGREEMENT


2.0066                         AXTEL SAB DE CV                  AMENDMENT NUMBER FIVE TO
                                                                THE SUPPLY CONTRACT


2.0067                         AXTEL SAB DE CV                  AMENDMENT NUMBER FIVE TO
                                                                THE SUPPLY CONTRACT


2.0068                         AXTEL SAB DE CV                  AMENDMENT NUMBER FOUR TO
                                                                THE SUPPLY CONTRACT


2.0069                         AXTEL SAB DE CV                  AMENDMENT NUMBER FOUR TO
                                                                THE SUPPLY CONTRACT


2.0070                         AXTEL SAB DE CV                  AMENDMENT NUMBER ONE TO
                                                                THE SUPPLY CONTRACT


2.0071                         AXTEL SAB DE CV                  AMENDMENT NUMBER THREE TO
                                                                THE SUPPLY CONTRACT


2.0072                         AXTEL SAB DE CV                  AMENDMENT NUMBER TWO TO
                                                                THE SUPPLY CONTRACT


2.0073                         AXTEL SAB DE CV                  EXHIBIT A "EQUIPMENT
                                                                DESCRIPTION, TECHNICAL
                                                                SPECIFICATIONS AND FUNCTIONAL
                                                                PARAMETERS"
2.0074                         AXTEL SAB DE CV; SERVICIOS       SUPPLY CONTRACT
                               AXTEL SA DE CV; VIER PRESIDENT
                               SALAS MIKE
                               SCHLECK
2.0075                         AXTEL SAB DE CV; SERVICIOS       SUPPLY CONTRACT
                               AXTEL SA DE CV; VIER PRESIDENT
                               SALAS MIKE
                               SCHLECK
2.0076                         BADER AL MULLA & BROTHERS        PURCHASE AGREEMENT FOR
                               COMPANY SPC                      PRODUCTS AND SERVICES


2.0077                         BALTIC NETWORKS INC;             DISTRIBUTOR AGREEMENT
                               VARGYAS NETWORKS INC


2.0078                         BALTIC NETWORKS INC;             DISTRIBUTOR AGREEMENT
                               VARGYAS NETWORKS INC
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2.0079                         BARQ SYSTEMS INC. (BSI)     PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES


2.0083                         BAYLAND TELEPHONE INC       ZHONE - SERVICE MAINTENANCE
                                                           CONTRACT


2.0085                         BEANFIELD TECHNOLOGIES      ZHONE TECHNOLOGIES, INC.
                                                           PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES

2.0094                         BLACKFOOT TELEPHONE         PURCHASE AGREEMENT FOR
                               COOPERATIVE INC             PRODUCTS AND SERVICES


2.0096                         BOINGO WIRELESS INC         MASTER PURCHASE ORDER
                                                           AGREEMENT


2.0097                         BONNEVILLE POWER            MUTUAL PRODUCT EVALUATION
                               ADMINISTRATION              AGREEMENT


2.0098                         BORDER STATES ELECTRIC      NON-EXCLUSIVE RESELLER
                               SUPPLY                      AGREEMENT


2.0099                         BRANCO; BRFIBRA             MUTUAL PRODUCT EVALUATION
                               TELECOMUNICACOES LTDA       AGREEMENT


2.0100                         BRIGHTSPEED; CONNECT HOLDING STATEMENT OF WORK FOR DSL
                               II LLC                       EXPRESSE SUBSCRIPTION
                                                            SOLUTION

2.0101                         BRIGHTSPEED; CONNECT HOLDING STATEMENT OF WORK FOR GPON
                               II LLC                       EXPRESSE AND CLEARVIEW
                                                            SUBSCRIPTION
                                                            SOLUTION
2.0102                         BRIGHTSPEED; CONNECT         AMENDMENT NO. 2
                               HOLDING II, LLC


2.0104                         BTC NETWORKS BAUD TELECOM   RESELLER AGREEMENT
                               COMPANY


2.0110                         CALLISONRTKL INC            ELITE AUTHORIZED VAR
                                                           RESELLER AGREEMENT


2.0111                         CAMYNO GMBH                 MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT
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2.0112                         CANADIAN NATIONAL RAILWAY     MASTER SERVICE AGREEMENT
                               COMPANY


2.0113                         CANADIAN NATIONAL RAILWAY     MATERIAL AND SERVICES
                               COMPANY                       PURCHASE AGREEMENT


2.0120                         CDE LIGHTBAND (CLARKSVILLE    PURCHASE AGREEMENT FOR
                               DEPARTMENT OF ELECTRICITY)    PRODUCTS AND SERVICES


2.0126                         CENTRAL OKLAHOMA              PURCHASE AGREEMENT FOR
                               TELEPHONE CO LLC              PRODUCTS AND SERVICES


2.0127                         CENTRAL OKLAHOMA TELEPHONE    QUOTE
                               CO LLC; CENTRAL OKLAHOMA
                               TELEPHONE
                               COMPANY LLC
2.0128                         CENTRAL TRENCHING, INC.       RESELLER AGREEMENT



2.0129                         CENTURYTEL SERVICE GROUP      SERVICE MAINTENANCE
                               LLC                           CONTRACT PROPOSAL


2.0130                         CENTURYTEL SERVICE GROUP LLC; STATEMENT OF WORK
                               LUMEN TECHNOLOGIES SERVICE
                               GROUP LLC;
                               BRIGHTSPEED
2.0132                         CHONE TECHNOLOGIES LOC        SERVICE MAINTENANCE CONTRACT
                               CONSOLIDATED
                               COMMUNICATIONS INC

2.0133                         CHR SOLUTIONS INC; ENGINEER   SPECIAL EQUIPMENT CONTRACT
                               MARTIN GROUP INC; STRATFORD   CLOSEOUT
                               MUTUAL TELEPHONE COMPANY

2.0134                         CHR SOLUTIONS INC; INTERBEL   MONTANA 522L — INTERBEL
                               TELEPHONE COOPERATIVE INC     CONTRACT CLOSEOUT
                                                             CERTIFICATION AND
                                                             CERTIFICATION OF COMPLETION
